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                                                                        FILED
                                                                         JAN 10 2019
                IN THE UNITED STATES DISTRICT COURT
                                                                         Clerk, U S Courts
                    FOR THE DISTRICT OF MONTANA                          District Of Montana
                                                                          Missoula Division
                           BUTTE DIVISION


 UNITED STATES OF AMERICA,
                                                      CR 18--04--BU-DLC
                 Plaintiffs,
                                                            ORDER
     vs.

 RUTHBAYONA,GEORGE
 ABEL GUTIERREZ, and
 STEVEN FRANCIS REYCHLER,

                 Defendants.



      Before the Court is the United States' Motion for Final Order of Forfeiture.

(Doc. 149.) Having reviewed the motion, the Court FINDS:

      1.    The United States commenced this action pursuant to 21 U.S.C. § 853

and 18 U.S.C. § 924(d);

      2.    A Preliminary Order of Forfeiture was entered on August 29, 2018;




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      3.     All known interested parties were provided an opportunity to respond

and that publication has been effected as required by 21 U.S.C. § 853(n)(l) and 18

U.S.C. § 924(d).

      4.     There appears there is cause to issue a forfeiture order under 21

U.S.C. § 853 and 18 U.S.C. § 924(d);

      It is therefore ORDERED that:

      1.     The Motion for Final Order of Forfeiture is GRANTED.

      2.     Judgment of forfeiture of the following property shall enter in favor of

the United States pursuant to 21 U.S.C. § 853 and 18 U.S.C. § 924(d), free from

the claims of any other party:

             • Ruger .380 automatic pistol with laser sight (serial number
               371318272); and any other firearms and ammunition involved in
               said offense.

      3.     The United States shall have full and legal title to the forfeited property

and may dispose of it in accordance with law.

      Dated this   I 0~ dayofJanu         ,2019.




                                 Dana L. Christensen, Chief District Judge
                                 United States District Court




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